JS 44 (Rev. 10/20)                 Case 2:23-cv-01236-KNS
                                                      CIVILDocument
                                                            COVER1-1   Filed 03/30/23 Page 1 of 1
                                                                    SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
       Joseph Lindquist, on behalf of himself and all others
                                                                                                             NCB Management Services, Inc.
       similarly situated
   (b) County of Residence of First Listed Plaintiff Pinellas County, FL                                     County of Residence of First Listed Defendant              Bucks County, PA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

          Charles E. Schaffer, Levin Sedran & Berman, 510 Walnut
          St., Ste. 500, Philadelphia, PA 19106, (215) 592-1500
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                        Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                         of Business In This State

    2   U.S. Government               ✖ 4    Diversity                                              Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                            310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                  Liability                  367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment              Slander                        Personal Injury                                                  820 Copyrights                   430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’              Product Liability                                                830 Patent                       450 Commerce
  152 Recovery of Defaulted                  Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
       Student Loans                    340 Marine                          Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)              345 Marine Product                  Liability                                                        840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits               355 Motor Vehicle               371 Truth in Lending               Act                                                                485 Telephone Consumer
✖ 190 Other Contract                        Product Liability           380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability        360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                             Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                        Sentence                                                             or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                         871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                  Other:                         462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                            Other                       550 Civil Rights                   Actions                                                                State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from                4 Reinstated or             5 Transferred from    6 Multidistrict                       8 Multidistrict
      Proceeding             State Court                             Appellate Court                Reopened                    Another District        Litigation -                        Litigation -
                                                                                                                                (specify)               Transfer                            Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 U.S.C. § 1332(d)(2)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Negligence, breach of contract arising out of data breach
VII. REQUESTED IN     ✖                       CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                 5,000,000                                   JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                                 DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
Mar 30, 2023                                                            /s/ Charles E. Schaffer
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                           MAG. JUDGE
